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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN

 VANDENBERG & SONS FURNITURE,                      )
 INC., a Michigan corporation, individually        )
 and as the representative of the certified        )
 class,                                            )   Civil Action No.: 1:15-cv-1255
                                                   )
                                Plaintiff,         )   CLASS ACTION
                                                   )
                v.                                 )   Honorable Gordon J. Quist
                                                   )
 ALLIANCE FUNDING GROUP,                           )   Magistrate Judge Ray Kent
                                                   )
                        Defendant.                 )

                 AGREED MOTION FOR PRELIMINARY APPROVAL OF
               CLASS ACTION SETTLEMENT AND NOTICE TO THE CLASS

        Plaintiff, Vandenberg & Sons Furniture, Inc. (“Plaintiff”), on behalf of itself and the

 certified class (identified herein as the “Settlement Class”), respectfully requests that the Court

 preliminarily approve the parties’ proposed class action settlement and notice to the class.

 Plaintiff submits its accompanied brief in support of this motion.

                                        Respectfully submitted,

                                        VANENBERG & SONS FURNITURE, INC., a Michigan
                                        corporation, individually and as the representative of a
                                        certified class

                                        By: s/Ross M. Good
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 8, 2021, I electronically filed the foregoing with the

 Clerk of the Court using the CM/ECF system which will send notification of such filing to all

 attorneys of record.


                                                     s/ Ross M. Good




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